
654 S.E.2d 251 (2007)
Sybil Lindsey DANIELS
v.
METRO MAGAZINE HOLDING COMPANY, L.L.C. and Bernie Reeves.
No. 582P06.
Supreme Court of North Carolina.
November 8, 2007.
Harvey L. Kennedy, Annie Brown Kennedy, Winston-Salem, Harold L. Kennedy, III, for Daniels.
William H. Moss, Raleigh, for Metro Magazine, et al.
Prior report: 179 N.C.App. 533, 634 S.E.2d 586.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 14th day of November 2006 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th day of November 2007."
Upon consideration of the petition filed on the 14th day of November 2006 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
